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February 17, 201 1

Via Electronic Case Filing (February 17, 2011)
and Hand Delivery (February 18, 2011)

The Honorable Theresa C. Buchanan
Magistrate Judge

United States District Court

Eastern District of Virginia

Judges Charnbers

401 Courthouse Square

Alexandria, Virginia 22314

Re: Intersections, lne., et al. v. Joseph C. Loomis, et al.
Case No. 1:()9cv597

Dear Judge Buchanan:

With respect to the submissions by Plaintiffs of the Declarations of Tara Lee Concerning
Attorneys’ Fees and Costs lncurred by Intersections, lne. and Net Enforcers, lnc. (Doeket Nos.
49 and 219), and the Declaration of Deelaration of Jonathan D. Frieden as to Reasonableness of
Attorneys’ Fees and Costs Ineurred by lnterseetions, lnc. and Net Enforeers, lnc. (Docket No.
22()), Defendant Joseph Loornis respectfully requests the Court to set a date by Whieh Defendant
may frle a response to the Plaintiffs’ Declarations and further respectfully request that the Court
schedule a hearing on this matter.

Thank you for your courtesy.

Very truly yours,

` ojhy J.McEvoy

cc: l\/Iichelle J. Dickinson, Esquire
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